            Case 1:18-cv-02340-RJL Document 76 Filed 04/19/19 Page 1 of 5



                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


                                                      )
United States of America et al.,                      )
                                                      )
                      Plaintiffs,                     )
                                                      )
                                                        Civil Case Number
       v.                                             )
                                                        1:18-cv-02340-RJL
                                                      )
CVS Health Corporation et al.,                        )
                                                      )
                      Defendants.                     )
                                                      )

      AMICUS CURIAE AIDS HEALTHCARE FOUNDATION’S WITNESS LIST


       Pursuant to the Court’s Order of April 8, 2019 (Dkt. 70), Amicus Curiae AIDS

Healthcare Foundation (“AHF”) hereby provides the Court with the following list of witnesses

that AHF proposes to offer at any evidentiary hearing the Court may schedule:


                                    EXPERT WITNESSES

                                         Dr. Hal Singer


                                    Knowledge and Expertise


       Dr. Hal Singer is a Managing Director at Econ One Research Inc., a Senior Fellow at the

George Washington Institute of Public Policy, and an Adjunct Professor at Georgetown

University, McDonough School of Business, where he teaches advanced pricing to Master in

Business Administration candidates. Dr. Singer earned a B.S. in Economics from Tulane

University, and an M.A. and Ph.D. in Economics from The John Hopkins University. Dr.

Singer’s curriculum vitae is attached as Exhibit A.
           Case 1:18-cv-02340-RJL Document 76 Filed 04/19/19 Page 2 of 5



                               Subject Matter of Proposed Testimony


         Based on his experience as an economist and his analysis of the relevant, available

evidence, Dr. Singer will testify regarding a number of different issues in this case, including

product market and geographic market definition; market structure and market concentration;

likely competitive effects of CVS Health Corporation’s acquisition of Aetna Inc. (the

“Acquisition”), including the effect of increased vertical integration in the relevant markets; and

barriers to entry or expansion in the markets impacted by the Acquisition.


                         Expected Duration of Proposed Direct Testimony


         The expected duration of Dr. Singer’s direct examination testimony is approximately two

hours.


                                       Dr. Lawton R. Burns

                                     Knowledge and Expertise

         Dr. Lawton R. “Rob” Burns is the James Joo-Jin Kim Professor at the Wharton School of

the University of Pennsylvania, where he is a Professor in the Department of Management and

the Department of Health Care Management. Dr. Burns is also the Director of the Wharton

Center for Health Management & Economics, and Co-Director of the Roy and Diana Vagelos

Program in Life Sciences and Management at the University of Pennsylvania. In these roles, Dr.

Burns teaches courses on the U.S. healthcare system and the industrial organization of

healthcare. Dr. Burns earned a Ph.D. in Sociology and a Masters in Business Administration in

Health Administration from the University of Chicago. Dr. Burns’ curriculum vitae is attached as

Exhibit B.




                                                 2
          Case 1:18-cv-02340-RJL Document 76 Filed 04/19/19 Page 3 of 5



                              Subject Matter of Proposed Testimony

        Dr. Burns will testify on the claimed consumer welfare benefits for the Acquisition

offered by CVS and Aetna, and specifically whether the Acquisition will improve access, cost, or

quality in health care. His testimony will include discussion of the lack of reliable evidence for

any consumer benefits from the merging parties’ strategies of vertical integration and

diversification, and the lack of consumer benefits from the Acquisition to compensate for welfare

losses stemming from antitrust concerns.

                        Expected Duration of Proposed Direct Testimony

        The expected duration of Dr. Burns’ direct examination testimony is approximately one

hour.



                                        FACT WITNESS

                          Michael B. Wohlfeiler, J.D., M.D., AAHIVS


                                    Knowledge and Expertise


        Dr. Michael Wohlfeiler is the Chief Medical Officer of the AIDS Healthcare Foundation.

He earned a Bachelor of Arts in Political Science from the University of Arizona, a Juris

Doctorate from The University of Arizona College of Law, and a Doctor of Medicine from Rush

Medical College. After two decades as a private practice physician focused on HIV medicine, in

2011 Dr. Wohlfeiler joined AHF as Medical Director for Research and Patient Protocols, and in

2013 became Chief Medical Officer. Dr Wohlfeiler is a Certified HIV Specialist by the

American Academy of HIV Medicine. Dr. Wohlfeiler’s curriculum vitae is attached as Exhibit

C.




                                                 3
            Case 1:18-cv-02340-RJL Document 76 Filed 04/19/19 Page 4 of 5



                              Subject Matter of Proposed Testimony


       As Chief Medical Officer, Dr. Wohlfeiler directs the AHF Department of Medicine,

which oversees and sets the standards for provision of specialized HIV/AIDS treatment and care

in AHF’s over sixty healthcare centers across the United States. Based on his expertise in the

medical, clinical and pharmaceutical aspects of care for HIV/AIDS populations, Dr. Wohlfeiler

will testify as to how increasing consolidation in the health care industry has negatively impacted

health care providers like AHF that offer specialty services to vulnerable populations, and his

concerns that the “Acquisition” will further harm such providers and their patients.


                        Expected Duration of Proposed Direct Testimony


       The expected duration of Dr. Wohlfeiler’s direct examination testimony is approximately

one hour.




                                             Respectfully Submitted,



                                             /s/ Joseph J. Aronica
                                             Joseph J. Aronica
                                             DUANE MORRIS LLP
                                             505 9th Street, N.W.
                                             Suite 1000
                                             Washington, DC 20004
                                             Telephone: 202-776-7800
                                             Fax: 202-776-7801

                                             Christopher H. Casey
                                             Jonathan L. Swichar
                                             Bradley A. Wasser
                                             Duane Morris LLP
                                             30 South 17th Street
                                             Philadelphia, PA 19103-4196


                                                4
         Case 1:18-cv-02340-RJL Document 76 Filed 04/19/19 Page 5 of 5



                                    Telephone: 215-979-1000
                                    Fax: 215-979-1020

                                    Attorneys for Amicus Curiae AIDS Healthcare
                                    Foundation

Dated: April 19, 2019




                                       5
